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                                                                 FILED IN OPEN COURT
                                                                     U.S.D.C. Atlanta

                                                                      FEB .1 9 2021
                                                                     James~Jiatten Clerk
                                                                     By: t7kf_      '
                 IN THE UNITED STATES DISTRICT COURT                   Deputy Clerk

                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


   UNITED ST A TES OF AMERICA

         V.                                Criminal Indictment

                                           No.
   SEBASTIAN TOMASZEWSKI,                         1    21·CR - o 5 5



   BLUE SKY AEROSPACE, LLC,
                                           UNDER SEAL




THE GRAND JURY CHARGES THAT:

                                   Count One
              (Conspiracy to Interfere with Government Functions)

                                The Conspiracy
   1. Beginning in or about June 2015, and continuing through in or about

October 2017, in the Northern Oistrict of Georgia and elsewhere, the Defendants,


                         SEBASTIAN TOMASZEWSKI,



                        BLUE SKY AEROSPACE, LLC,
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did knowingly and willfully combine, conspire, confederate and agree together,
with one another, and with others known and unknown to the Grand Jury, to
commit the following offenses against the United States:
        A. To knowingly and willfully export, and cause to be exported, from the
United States, and trans-shipped to the Republic of Iran through Turkey, U.S.
origin aircraft parts without first having obtained a license or other written
authorization for such export, in violation of the International Emergency
~conomic Powers Act, Title 50, United States Code, Section 1705, and Title 31,
Code of Federal Regulations, Sections 560.203(a), 560.204, 560.205, and 560.206;
and
        B. To fraudulently and knowingly export and send from the United States
merchandise, articles and objects contrary to any law and regulation of the
United States, specifically, Title 13, United States Code, Section 305, all in
violation of Title 18, United States Code, Section 554(a).
                             Introductory Allegations

   At all times relevant to this Indictment:
                                 I. The Defendants
   2.                                          was a company organized and
operating in the                         that at times used a business address
located in Turkey. In or about June 2015,         leased Boeing 757-200
(MSN        ) and Boeing 737-400 (MSN           ) aircrafts (the "Boeing Aircrafts") to
a commercial airline operating in the Republic of Iran (the "Iranian Airline").



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        also agreed with the Iranian Airline to provide technical maintenance and
aircraft equipment (" Aircraft Parts") for the Boeing Aircrafts.
   3. In or about June 2016, the Iranian Airline purchased the Boeing Aircrafts. ·
        thereafter continued to provide Aircraft Parts to the Iranian Airline.
   4.                                                                      was the
General Director for        .
   5.                                                               was the Director
of Maintenance and Engineering at           .
   6. BLUE SKY AEROSPACE, LLC ("BLUE SKY"), was a United States
company operating in Boca Raton, FL, that sold aircraft parts.
   7. SEBASTIAN TOMASZEWSKI ("TOMASZEWS~I"), a United States citizen,
was the owner and General Manager of BLUE SKY. .
   8.                                                                      a
company organized and operating in Turkey, provided logistical support _in
coordination with                                                  for Aircraft Parts

that were shipped from the United States and delivered to the Republic of Iran.
   9.                                                                   a company
organized and operating in Turkey, was a freight forwarding company that
received Aircraft Parts shipped from BLUE SKY and delivered, or caused to be
delivered, Aircraft Parts to the Republic of Iran.
   10.                                               was the owner of             and
the General Manager of                  .



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             II. The International Emergency Economic Powers Act
   11. Through the International Emergency Economic Powers Act ("IEEPA"),
the President of the United States was granted the authority to address unusual
and extraordinary threats to the national security, foreign policy or economy of
the United States pursuant to Title 50, United States Code, Section 1701(a)
("Section 1705"). Under that authority, the President and the Executive Branch
issue orders and regulations governing and prohibiting certain activities and
transactions with Iran by persons and involving items of U.S. origin or exported
from the United States.
   12. Under IEEPA, it was a crime to willfully violate, attempt to violate,
conspire to violate, or cause a violation of, any license, order, regulation or
prohibition issued pursuant to Section 1705(a). Pursuant to Section 1705(c), any
person who willfully committed, attempted to commit, conspired to commit, or
aided and abetted in the commission of, any unlawful act as described in
subsection (a) of the statute was guilty of a crime.

   13. In or about 1995, and again in or about 1997, the President issued a series
of Executive Orders regulating transactions with Iran pursuant to his authorities
under IEEPA. See Executive Orders 13059 (August 19, 1997), 12959 (May 6, 1995)
and 12957 (March 15, 1995). Since 1997, each President has continued the national
emergency with respect to Iran and those Executive Orders. In March 2020, the
President stated that the "actions and policies of the Government of Iran -
including its proliferation and development of missiles and other asymmetric
and conventional weapons capabilities, its network and campaign of regional

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aggression, its support for terrorist groups, and the malign activities of the
Islamic Revolutionary Guard Corps and its surrogates - continue to pose an
unusual and extraordinary threat to the national security, foreign policy, and
economy of the United States." So "the national emergency declared on March .
15, 1995, must continue in effect beyond March 15, 2020." 85 Fed. Reg. 14731
(March 12, 2020).
            III. The Iranian Transactions and Sanctions Regulations
   14. The U.S. Department of Treasury's Office of Foreign Assets Control
("OFAC") issued the Iranian Transactions and Sanctions Regulations ("ITSR").
31 C.F.R. Part 560. The ITSR prohibited the following transactions unless
conducted pursuant to a license or other authorization issued by OFAC:
      A. The exportation, re-exportation, sale or supply, directly or indirectly,
from the United States, or by a U.S. person, wherever located, of any goods,
technology or services to Iran and the Government of Iran, including the
exportation, re-exportation, sale or supply of any goods, technology or services,

to a person in a third country undertaken with knowledge or reason to know
that such goods technology or services were intended specifically for supply,
transshipment or re-exportation, directly or indirectly, to Iran or the Government
of Iran (31 C.F.R. § 560.204);
      B. The re-exportation from a third country, directly or indirectly, by a
person other than a United States person, ofany goods, technology, or services
that have been exported from the United States if undertaken with knowledge or
reason to know that the re-exportation is intended sp~cifically for Iran and the

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exportation of such goods, technology, or services from the United States to Iran
was subject to export license application requirements under any United States
regulations (31 C.F.R. § 560.205);
         C. Any transaction, or dealing in or related to, by a U.S. person, wherever
located, involving goods, technology or services for exportation, re-exportation,
sale or supply, directly or indirectly, to Iran or the Government of Iran (31 C.F.R.
§ 560.206); and

         D. Any transaction that evaded or avoided, had the purpose of evading or
avoiding, caused a violation of, or attempted to violate any of the prohibitions in
the ITSR (31 C.F.R. § 560.203(a)).
   15. With respect to the prohibitions on certain transactions as listed in Section
560.206(a), the ITSR states that the term "transaction or dealing" includes but is
not limited to purchasing, selling, transporting, swapping, brokering, approving,
financing, facilitating, or guaranteeing. 50 U.S.C. § 560.206(b).
                               The Manner and Means

   16. The Defendants and their co-conspirators, known and unknown to the
Grand Jury, used the following manner and means, among others, to accomplish
the objects of the conspiracy:
         A. BLUE SKY agreed to provide and supply U.S. origin Aircraft Parts to
     that         had selected and purchased.        would negotiate with U.S.
suppliers for the purchase of Aircraft Parts and caused the delivery of Aircraft
Parts to BLUE SKY in the United States and the payment by BLUE SKY of certain
items.

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      B. TOMASZESKI and                        would submit, and caused to be
submitted, to U.S. vendors certain forms agreeing to comply with U.S. export
control laws wherein they affirmatively, and falsely, represented that they would
not divert shipments to Iran, all the while knowing that the Aircraft Parts were to
be delivered to the Republic of Iran. TOMASZESKI and                         also
submitted, and caused to be submitted, certain statements of end-use of the
Aircraft Parts wherein they intentionally failed to list the Iranian Airlines as the
actual end-user of the Aircraft Parts being shipped from the United States.
      C.       would instruct BLUE SKY to ship the Aircraft Parts from the

United States to               to conceal the fact that the Republic of Iran was the
intended destination.
      D.       would contact                            to provide advance notice
regarding shipments from BLUE SKY to
      would thereafter ship, and caused to be shipped, the Aircraft Parts to the
Iranian Airline that had been delivered to Turkey by BLUE SKY.
      E. At no time did any of the Defendants ever apply for, or receive, a license

or other written authorization from OF AC that authorized any export, directly
and indirectly, from the United States to the Republic of Iran.
                                     Overt Acts

   17. In furtherance of the conspiracy and to effect its objects, the Defendants,
together with others known and unknown to the Grand Jury, committed and
caused to be committed, at least one of the following Overt Acts, among others:



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                                      Aircraft Tires
          A. On or about June 2, 2015,                    signed a contract on behalf of
      for the lease of one of the Boeing Aircrafts to the Iranian Airline.
          B. On or about June 17, 2015,                requested price quotes from
BLUE SKY for the purchase of Aircraft Parts and asked TOMASZEWSKI to
"work out the way to deliver [them] to Iran."
      C. On or about June 28, 2015,                    told TOMASZEWSKI that there
was a delay in "the commencement of the operation" in Iran due to political
issues.

      D. On or about July 9, 2015,                  told TOMASZEWSKI that
Company A did not have a license to export aircraft tires to Iran when
                attempted to directly purchase aircraft tires.                asked if
TOMASZEWSKI could purchase the aircraft tires and ship them to Iran.
      E. On or about July 9, 2015, TOMASZEWSKI replied to                         that
the aircraft tire transaction price would increase if shipment had to be routed
through the U.S.
      F. On or about July 22, 2015,                      signed a contract on behalf of
     to purchase aircraft parts from BLUE SKY.
                                Aircraft Brake (SN
      G. On or about July 22, 2015,                    instructed TOMASZEWSKI to
ship an aircraft brake to the Iranian Airline at the Tehran, Iran delivery address.
      H. On or about July 23, 2015, TOMASZEWSKI sent a BLUE SKY invoice to
               for the sale of an aircraft brake part bearing serial number

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("Brake 3415"). The invoice listed the Iranian Airline as the recipient of the
shipment with a delivery address in Tehran, and contained the following
language: "These commodities, technologies or software were exported from the
United States in accordance with the Export Administration Regulations."
      I. On or about July 23, 2015,               advised TOMASZEWSKI that one
aircraft was in Iran and that a second aircraft would be in Iran in one week.
      J. On or about July 27, 2015,               and TOMASZEWSKI learned
from a U.S. logistics company that: (i) the Brake 34i5 shipment was delayed
pending clearance by the U.S. government; and (ii) all shipments to an
embargoed country such as Iran went through a "formalized clearance and
inspection process."
      K. On or about July 28, 2015,               informed TOMASZEWSKI that
the shipper would return Brake 3415 to BLUE SKY.                   instructed

TOMASZEWSKI to resend the Brake 3415 shipment as soon as possible to
       's agent                  in Turkey.

      L. On or about July 31, 2015,               advised TOMASZEWSKI that the
"brake [was] finally in Iran."

                             Aircraft Brake (SN       )

      M. On or about December 11, 2015, BLUE SKY provided                        with
an invoice for the purchase of an aircraft brake, bearing serial number
("BRAKE 0333").                                       were listed as the shipping
recipient in Istanbul, Turkey. The invoice contained the following: "These



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commodities, technologies or software were exported from the United States in
accordance with the Export Administration Regulations."
       N. On or about December 14, 2015, TOM-A..SZEWSKI provided
with the Air Waybill number for the shipment of Brake 0333 to Turkey.
       0. On or a.b out December 14, 2015, an            Representative provided
                             with notification of the shipment of Brake 0333 to


       P. On or about December 17, 2015, a                     representative informed
                              that Brake 0333 would be shipped to Iran on that
date. The               representative provided a copy of the Air Waybill that
listed: (i) the shipper as                ; (ii) the consignee as the Iranian Airline;
and (iii) the destination as Imam Khomeini International Airport. The Packing
List described the item shipped as "one brake assy - B737, serial number                 ."
      Q. On or about December 31, 2015,                        provided BLUE SKY with
payment confirmation for the purchase of Brake 0333.
                               Aircraft Brake (SN          )
      R. On or about January 28, 2016,             sent TOMASZEWSKI a purchase
order that requested the purchase of a specific type of aircraft brake that was
priced at $13,250. The purchase order included an instruction that BLUE SKY .
ship the part to               .
      S. On or about January 28, 2016, BLUE SKY sent                        an invoice for
the sale of an aircraft brake bearing serial number             ("Brake 2629").
                                   were listed on the invoice as the recipients in

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Istanbul, Turkey. The invoice contained the following: "These com,modities,
technologies or software were exported from the United States in accordance
with the Export Administration Regulations. Diversion contrary to U.S. law is
prohibited."
       T. On or about January 28, 2016, an         representative provided
                            a copy of the BLUE SKY invoice and asked if
            could ship Brake 2629 to Mashad, Iran, using the Iranian Airline.
       U. On or about January 31, 2016, Brake 2629 was shipped and exported
from Atlanta, Georgia, to Turkey.
      V. On or about February 8, 2016,                    signed on behalf of
an Export Compliance/End User Certification for a separate company that
stated, in part, that      would not "export or re-export U.S. products,

technology or software to Cuba, Iran, North Korea, Syria or Sudan- or to any
restricted country unless otherwise authorized by the United States
Government."

      W. On or about February 15, 2016,                 sent payment confirmation
to BLUE SKY for the Brake 2629 purchase transaction.
      X. On or about February 27, 2016,              sent an air waybill to
               indicating that             had shipped Brake 2629 to the Iranian
Airline with Imam Khomeini International Airport listed as the destination.
           included a copy of the packing list that described the shipped item as
"one brake assy - B737, serial number         ."



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      Y. On or about April 29, 2016,                        signed an Export
Compliance Certification on behalf of             that stated, in part, that   would
not "export or re-export any [company] products, technology or software to any
country on the US Debarred list, unless otherwise authorized by the United
States Government" and that it would "abide by all applicable U.S. Export
control laws and regulations ... and [would] obtain any licenses or approvals
required by the U.S. Government prior to export or re-export of [the company's]
products, software or technology."
                    Attempted Purchase of an Aircraft Starter
      Z. On or about May 26, 2016,                     contacted Company B, an
Illinois corporation, to ask about the availability and cost of a B757-200 starter
component (the" Aircraft Starter"). Company B replied that the Aircraft Starter
was in inventory and provided a price quote. Company B indicated that
             would be required to submit both a customer activation form and an
                                              '   ~



export compliance form to purchase the Aircraft Starter.
      AA. On or about May 26, 2016,                      seri~ an export compliance
form to Company B stating          "will not export or re-export U.S. products,
technology or software to Cuba, Iran, North Korea, Syria or Sudari - or_to ·any
restricted country unless otherwise authorized by the United States
Government."
      BB. On or about May 26, 2016,                     told TOMASZEWKI that
             had identified a U.S. equipment part for which he would charge
     $38,000 for the purchase so that he and TOMASZEWSKI could divide the

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profit. TOMASZEWSKI then agreed to wire payment for the item to Company
B.
        CC. On or about May 26, 2016, TOMASZEWSKI sent an email to Company
B that contained a confirmation of a wire transfer payment of $32,000 to
Company B. The email also contained an "Export Compliance/End User
Certification/Letter of Understanding" signed by TOMASZEWSKI. In this
document, BLUE SKY stated that it "will not export or re-export U.S. products,
technology or software to Cuba, Iran, North Korea, Syria or Sudan - or to any
restricted country·unless otherwise authorized by the United States
Government."
        DD. On or about May 26, 2016, TOMASZEWSKI provided Company B
with a form from BLUE SKY listing        as the ultimate end-user of the Aircraft
part and the end-use location as Istanbul, Turkey.
        EE. On or about May 26, 2016, TOMASZEWSKI informed                    that
Company B suspected that         was associated with Iran based upon research of

information that             had provided. TOMASZEWSKI advised that
Company B was refusing to release the Aircraft Starter. TOMASZEWSKI
instructed             to always respond that the Aircraft Starter was for BLUE
SKY and that the end-user customer was located in France. TOMASZEWSKI
stated that he would make another attempt to get Company B to release the item.
        FF. On or about May 26, 2016, TOMASZEWSKI told                 that
Company B was not going to release the Aircraft Starter to      because of its
association with Iran. TOMASZEWSKI stated that he was now representing to

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Company B that: (i) the Aircraft Starter was to be used by a Tajik Air 757; and (ii)
                                                       who worked only as a
consultant for       . TOMASZEWSKI said that he had assured Company B that
Tajik Air had no connection to Iran and urged Company B to release the item to
      TOMASZEWSKI told                     to tell Company B that the Aircraft
Starter was for                and that he worked for BLUE SKY.
      GG. On or about May 27, 2016, TOMASZEWSKI informed
that the deal was a "no go." TOMASZEWSKI explained that there were too
many "stories" being provided to Company B and instructed                    to
copy TOMASZEWSKI on all email communications.
              Attempted Shipment of Aircraft Engine (MSN
      HH. On or about September 1, 2016,                 received a proposed lease
agreement for two CFM56-3C engines, including an engine bearing serial
number            ("Engine 857203") from a United States supplier, Company C.
Company C was listed as the Lessor and          as the Lessee of Engine 857203.

      IL On or about September 1, 2016,                forwarded an unsigned
copy of the lease agreement for Engine 857203 to TOMASZEWSKI and asked if
he could provide the deposit required to lease these two engines. BLUE SKY
AEROSPACE sent an invoice for the lease deposit for two engines to
            . This invoice included Engine 857203 as an item to be leased.
      JJ. On or about September 2, 2016,               provided Company C with
BLUE SKY AEROSPACE and TOMASZEWSKI as credit references.



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      KK. On or about September 9, 2016,                     informed
             that an aircraft engine was being shipped to
also provided a copy of the Air Waybill showing the shipment of Engine 857203
from the United States to                   in Turkey.
      LL. On or about September 10, 2016, a                   representative told
              that arrangements would be made to send Engine 857203 to Imam
Khomeini International Airport and asked for the name of the consignee at the
Tehran airport.
      MM. On or about September 14, 2016,                       received an email from
a U.S. Customs and Border Protection Officer stating that Engine 857203 was
being placed on hold pending redelivery to the United States.
      NN. On or about September 19, 2016,                      sent to a U.S. Customs
and Border Protection Officer a letter from                       stating that Engine
857203 was for a B737-400 bearing tail number EY753 and that               would
provide any documents necessary to the release the U.S. Customs hold.

      00. On or about September 20, 2016,                      advised a representative
with the Iranian Airline about                   ' s communications with the U.S.
Customs and Border Protection Officer.
      PP. On or about September 28, 2016,                     received an email from a
Bureau of Industry and Security ("BIS") Special Agent, located in Atlanta,
Georgia, asking                to explain          s relationship with the freight
forwarder,                  and to identify the freight forwarder's owners and
managers.                replied, in part, that other freight forwarders

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recommended                    and that         did not frequently use                 as
a freight forwarder .                further stated that           was the
       General Manager and that after the hold was placed on Engine 857203, he
learned            was "on a black list for US Chamber of Commerce" for some
illegal transactions in the past.
      QQ. On or about September 29, 2016,                    sent an email to
           in which                 copied the portion of the BIS Special Agent's
response confirming that               was on the BIS Denied Entity List. The email
from the BIS Special Agent also asked whether                    s company or
applied for an export license.
      RR. On September 29, 2016,                                  started a separate
email conversation with the subject listed as "Shipment of Engine to Tajikistan."
             started the email chain with an email that stated, in part:

          As we discussed over the phone, we would like to use your
          Services in transit clearance and forwarding of the shipment we
          expect from the USA that needs to go to Tajikistan. We are
          leasing an Engine for our B737-400 engine from
                    , USA.

          Please, provide the details of your company to indicate in the
          AWB. Also let me know how much your Services will be for
          customs clearance of such shipment.


      SS. On September 29, 2016,                replied to the email:

          Dear




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          As you know I am not related and not staff of               . Just I
          am a freight forwarder company in Turkey whivh [sic]will
          organize all freight and flight organization to Tajikistan.

         Bu [sic] I can give you details of            below for using to
         you.




         Attn:[]       is the owner of company)

         Also my company detail is in my mail sign.

         Please use on awb as consignee                           details.

         Best regards,




      TT. On or about September 29, 2016,               separately replied to the
email described in paragraph qq, in which               stated, "I hope My [sic] last

e mail and explanation will clear the situation."
      UU. Additionally, on or about September 29, 2016,                      sent an
email to the BIS Special Agent in which                again explained that he did
not know that             was on the BIS list and that he did not think there was a
need to apply for an export license.                attached the email chain
described in Overt Acts rr and ss. The date on the email communication between
                            , however, was changed from September 29, 2016, to




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September 6, 2016.            ' s response in the email chain was also changed to
the following:

             Dear

             Just I am a freight forwarder company in Turkey which that
             can organize freight and flight organization to Tajikistan.

             But I can give you details of          as below for using in
             AWB.




             Please use on awb as consignee                        details
             ATTN:[] (     is owner of company)

             Best regards,




      VV. On or about October 1, 2016,               forwarded to the Iranian

Airline representative the email chain between               and the BIS Special
Agent showing                ' s continued efforts to remove the hold on Engine
857203.
      WW. After Engine 857203 was returned on or about October 7, 2016, to

Atlanta, Georgia, from Turkey, on or about October 11, 2016,                 sent an
email to the BIS Special Agent requesting that the engine be shipped to Tajikistan
using a different freight forwarder.              further stated that        was the
end-user.
                 Additional Aircraft Parts Acquisitions/Payments
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         XX. On or about January 26, 2017, BLUE SKY shipped an aircraft brake
bearing serial number        to      in Istanbul Turkey.
         YY. On or about February 28, 2017, BLUE SKY shipped an aircraft brake

bearing serial number        to      in Turkey.
         ZZ. On or about May 11, 2017, BLUE SKY sent a Pro Forma Invoice
(C21      ) to                      for the purchase of various aircrafts parts.
         AAA. On or about August 7, 2017, BLUE SKY sent to            a Purchase
Order for a Fan Assembly.
         BBB. On or about September 25, 2017, TOMASZEWKI sent a Pro Forma
Invoice (C22        to                        for the purchase of various aircrafts
parts.
         CCC. On or about October 16, 2017, TOMASZEWSKI confirmed receipt of
$25,254.37 for the payment of two invoices, C21         and C22     , each containing
a description of aircraft parts purchased by        .
   All in violation of Title 18, United States Code, Section 371.

                                   Count Two
                 (International Emergency Economic Powers Act)
   18. Paragraphs 2 through 17 of Count One are re-alleged and incorporated by _
reference herein.
   19. From on or about September 1, 2016, through on or about October 30,
2016, in the Northern District of Georgia and elsewhere, the Defendants,




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aided and abetted by one another, knowingly and willfully attempted to export
United States origin goods from the United States to the Islamic Republic of Iran,
that being an aircraft engine (MSN            ), without having first obtained the

required authorization from OF AC, in violation of the International Emergency
Economic Powers Act, Title 50, United States Code, Section 1705, in connection
with Title 31, Code of the Federal Regulations, Sections 560.203(a), 560.204, and
560.205; and Title 18, United States Code, Section 2.
                                     Forfeiture

   20. Upon conviction of one or more of the offenses alleged in Counts One and
Two of this Indictment, the Defendants,                           SEBASTIAN
TOMASZEWSKI,
                     BLUE SKY AEROSPACE, LLC,


shall forfeit to the United States of America, pursuant to Title 18, United States

Code, Section 981(a)(l)(C) and Title 28, United States Code, Section 2461, any
property, real or personal, that constitutes, or is derived from, proceeds traceable
to such offenses, including, but not limited to, a personal money judgment, that
is, a sum of money in United States currency, representing the amount of
proceeds obtained as a result of the offenses alleged.
   21. If, any of the property described above, as a result of any act or omission
of a Defendant:

      (a) cannot be located upon the exercise of due diligence;

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      (b) has been transferred or sold to, or deposited with, a third party;

      (c) has been placed beyond the jurisdiction of the court;

      (d) has been substantially diminished in value; or

      (e) has been commingled with other property which cannot be divided
          without difficulty;
the United States intends, pursuant to Title 21, United States Code, Section
853(p), as incorporated by Title 28, United States Code, Section 2461(c), to seek
forfeiture of any other property of said defendant up to the value of the above
forfeitable property.




 KURT R. ERSKINE
  Acting United States Attorney


 Ywaa ~-l !Y4
TRACIA M. KING
  Assistant United States Attorney
 Georgia Bar No. 421380

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